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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
                       _______________________________________

UNITED STATES OF AMERICA

v.                                                        No. 3:16-CR-479-N

CARLOS VENEGAS, et al.

                              AGREED PROTECTIVE ORDER

       On the agreed motion of the government, pursuant to Federal Rule of Criminal

Procedure 16(d), and for good cause shown,

       IT IS HEREBY ORDERED THAT:

       1. All materials, including documents, electronic data, and audio/visual materials,

provided by the Government to the defense in this action pursuant to Rule 16 of the

Federal Rules of Criminal Procedure are considered “Confidential Information.”

       2. Confidential Information disclosed to the defendant or to his counsel in this

case during the course of proceedings in this action:

           (a) Shall be used by the defendant and his counsel only for purposes of

               defending this criminal action;

           (b) Shall not be copied, except to the extent needed as trial exhibits or as

               counsel’s working copies;

           (c) Shall not be shared outside of the defendant’s counsel’s office with any

               person not authorized in this subparagraph. The discovery may be


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               disclosed by the defendant or his counsel in this action only to the

               following persons (hereinafter, “Designated Persons”):

               i.      Investigative, secretarial, clerical, paralegal and student personnel

                       employed full-time or part-time by the defendant’s attorney;

               ii.     Independent expert witnesses, investigators, or expert advisors

                       retained – pursuant to a written retainer agreement – in connection

                       with this action; and

               iii.    Such other persons as hereafter may be authorized by agreement, in

                       writing, of the parties or by the Court upon the defendant’s motion;

           (d) Shall not be provided to a defendant, except that defendant’s counsel may

               take the materials to a defendant and show them to a defendant, but such

               materials may not be left with a defendant under any circumstances;

           (e) Shall not be disseminated, or any information contained therein disclosed,

               by the defendant or defendant’s counsel, or any agent thereof, to anyone

               besides this Court or the parties to this case.

       3. Any attorney of record who is retained or appointed to represent a defendant

and who is later relieved of representation of a defendant is bound by the terms of this

order unless excused from its terms by court order.

       4. Confidential Information disclosed to the defendant or to his counsel during

the course of proceedings in this action, including any and all copies made of said

material, shall, at the conclusion of this matter, either be returned to the Government or
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shredded and destroyed. This matter will be concluded upon expiration of the period for

direct appeal from any verdict in the above-captioned case, the period of direct appeal

from any order dismissing any of the charges in the above-captioned case, or the granting

of any motion made on behalf of the Government dismissing any charges in the above-

captioned case, whichever date is latest.

       5. The defendant and his counsel shall provide a copy of this Order to

Designated Persons to whom they disclose confidential information pursuant to

paragraphs 2(c)(i), (ii) and (iii). Designated Persons shall be subject to the terms of this

Order and shall sign an acknowledgement, to be retained by defendant’s counsel,

indicating that they have received and reviewed the terms of this Order and understand

that they are bound by it before being provided with, shown, or read the contents of any

materials produced pursuant to terms of this Order.

       6. The defendant and his counsel will not attach any materials produced pursuant

to this Order to any public filings with the Court or publically disclose any such

materials, or their contents in any other manner, without prior notice to the Government.

If the defense and the Government cannot agree on the manner in which the documents

or their contents may be publicly disclosed, the parties shall seek resolution of such

disagreements by the Court.



                                   (nothing further on this page)



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       7. If any dispute should arise between the parties to this action as to whether any

documents, materials, or other information is Confidential Information subject to the

provisions of this Order, such documents, materials, or other information shall be

considered Confidential Information pending further order of this Court

       8. The provisions of this Order shall not be construed as preventing the disclosure

of any information in any motion, hearing, or trial held in this action or to any District

Judge or Magistrate Judge of this Court for purposes of this action. Nor shall the

provisions of this Order be construed as preventing disclosure of any information in the

public domain or information obtained independently from the sources described in

Paragraph 1.




       SO ORDERED.

       Dated this 3rd day of January, 2017.



                                           _____________________________________
                                           DAVID C. GODBEY
                                           UNITED STATES DISTRICT JUDGE




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